                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


TROY G. HAMMER,

             Plaintiff,

      v.                                      Case No. 21C1183

TODD HAMILTON AND
SAMANTHA SCHWARTZ-OSCAR,

             Defendants.


  DEFENDANTS’ MOTIONS TO REFER CASE TO MAGISTRATE JUDGE
         AND STAY DEADLINES PENDING MEDIATION


      NOW COME defendants, by their undersigned counsel, to move the Court to

refer this case to a Magistrate Judge for the limited purposes of pursuing mediation

this case. Both parties have expressed interest in settlement and would like the

assistance of a Magistrate Judge in resolving this case.

      Both parties have agreed to stay all discovery and all case deadlines, including

the September 22, 2022 dispositive motions deadline, pending mediation. Thus,

defendants further move the Court to order a stay of all case deadlines and discovery

pending mediation.

      There is no briefing accompanying this motion.
      Dated this 11th day of May, 2022.

                                      Respectfully submitted,

                                      JOSHUA L. KAUL
                                      Attorney General of Wisconsin

                                      s/Samir S. Jaber
                                      SAMIR S. JABER
                                      Assistant Attorney General
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